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                                                                                 2018 Jul-12 AM 11:15
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION

JAMIE CROWE,                                 )
                                             )
                  Plaintiff,                 )
                                             )
vs.                                          )       CIVIL ACTION NO.
                                             )       5:18-cv-00846-HNJ
CARMAX AUTO SUPERSTORES,                     )
INC.; EXETER FINANCE;                        )
ALLSTAR RECOVERY, LLC;                       )
DEL MAR RECOVERY                             )
SOLUTIONS, LLC,                              )
                                             )
                  Defendants.                )

  DEFENDANTS’ MOTION TO COMPEL ARBITRATION AND DISMISS
          AND MEMORANDUM IN SUPPORT THEREOF
          COMES NOW Defendants CarMax Auto Superstores, Inc. (“CarMax”) and

Del Mar Recovery Solutions, LLC (“Del Mar”) (collectively, the “Defendants”),

by and through their undersigned counsel, and pursuant to Sections 2, 3 and 4 of

the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq., hereby move this

honorable Court for an order compelling arbitration of the claims asserted by

Plaintiff Jamie Crowe (“Crowe”) in this action and dismissing all claims against

these two Defendants. In support of this motion, Defendants state as follows:

                               I. FACTUAL BACKGROUND
          On March 3, 2018, Crowe and Timothy Chad Abernathy purchased a 2014

Chevrolet Captiva Sport (the “Vehicle”), from CarMax Auto Superstores, Inc. in



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Huntsville, Alabama. (See Ex. A, Declaration of Mary Amos ¶ 7) (“Amos Decl.”).

In connection with the purchase, Crowe signed, among other documents, a Used

Vehicle Bill of Sale (“Bill of Sale”) and a Retail Installment Contract (“RIC”),

both of which included an arbitration provision (collectively, the “Arbitration

Provisions”). (See Bill of Sale, attached to Amos Decl. as Exhibit 1; RIC, attached

to Amos Decl. as Exhibit 2.) By signing the Bill of Sale and the RIC, Crowe

agreed to arbitrate all claims or disputes arising out of or relating to the Bill of

Sale, the RIC, the Vehicle, and the collection or servicing of the Bill of Sale or

RIC, including disputes based in tort, consumer rights, fraud, or other intentional

tort claims. (See Bill of Sale, p. 2; RIC, p. 3.)

          The Arbitration Provisions, which Crowe signed, included on page 3 of the

RIC and pages 2-3 of the Bill of Sale, state as follows:

                             ARBITRATION PROVISION

This Arbitration Provision describes when and how a Claim (defined below) shall be
arbitrated. Arbitration is a way of resolving disputes before one or more neutral
persons, instead of having a trial in court before a judge and/or jury. By signing this
Contract you and we agree to be bound by the terms of this Arbitration
Provision.

For purposes of this Arbitration Provision, references to 'we,' 'us' and 'our' mean the
Seller, including Its respective subsidiaries, affiliates, agents, employees and officers, or
anyone to whom the Seller transfers its rights under the Contract.

IF YOU OR WE CHOOSE ARBITRATION, THEN ARBITRATION SHALL
BE MANDATORY, AND:



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    •   ANY CLAIM WILL BE DECIDED BY ARBITRATION AND NOT IN
        COURT OR BY A JURY TRIAL
    •   DISCOVERY AND RIGHTS TO APPEAL ARE LIMITED BY THE
        ARBITRATION RULES OF THE ARBITRATION ADMINISTRATOR.
    •   YOU GIVE UP YOUR RIGHT TO PARTICIPATE AS A
        REPRESENTATIVE OR MEMBER OF A CLASS IN A CLASS
        ACTION ("CLASS ACTION WAIVER").
    •   OTHER RIGHTS THAT YOU OR WE WOULD HAVE IN COURT MAY
        NOT BE AVAILABLE IN ARBITRATION.

a. What Claims are Covered. A “Claim” is any claim, dispute or controversy
between you and us that in any way arises from or relates to this consumer credit sale,
the purchase you are financing by way of this Contract, the Vehicle and related goods
and services that are the subject of the purchase and this Contract, or the collection or
servicing of this Contract, including but not limited to:

    •   Initial claims, counterclaims, cross-claims and third-party claims;
    •   Disputes based on contract, tort, consumer rights, fraud and other intentional
        torts (at law or in equity, including any claim for injunctive or declaratory
        relief);
    •   Disputes based on constitutional grounds or on laws, regulations, ordinances or
        similar provisions; and
    •   Disputes about the validity, enforceability, arbitrability or scope of this
        Arbitration Provision or this Contract, subject to paragraph (f) of this
        Arbitration Provision.

 (RIC, p. 3.)1 The bottom of the RIC’s Arbitration Provision states, “By initialing

below you represent that you have read and agree to all provisions on all pages.”

          1
         The language in the Arbitration Provision in the Bill of Sale is identical to the language
in the RIC’s Arbitration Provision with the exception that the Bill of Sale defines “claim” as
follows:

          A “Claim” is any claim, dispute or controversy between you and us that in any
          way arises from or relates to this sale and/or this Contract or the Vehicle and
          related goods and services that are the subject of the purchase and this Contract or
          the collection or servicing of this Contract, including but not limited to:

(Bill of Sale, pp. 2-3.) This slight distinction in defining “claim” has no bearing on the merits of
this Motion.

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(Id.) Additionally, the signature portion on page 1 of the Bill of Sale states, “By

executing this Contract, Buyer (and Co-Buyer, if applicable) acknowledges reading

the entire Contract (three pages), including the Arbitration Provision.” (Bill of

Sale, p. 3.) (emphasis added). Crowe signed both documents. (Bill of Sale, p. 1;

RIC, p. 3.)

          Del Mar received an assignment from CarMax to repossess the Vehicle. (See

Amos Decl. ¶ 9; Exhibit B, Declaration of Alethea Naumann, ¶ 5 (“Del Mar

Decl.”)). Thereafter, Del Mar assigned the repossession to Allstar Recovery, LLC,

who subsequently repossessed the Vehicle on or about April 12, 2018. (Del Mar

Decl. ¶ 6.)

          On June 1, 2018, Crowe filed a Complaint in the United States District Court

for the Northern District of Alabama against Defendants and alleges that Del Mar

was CarMax’s agent. See Compl. ¶ 55 (“Defendants and/or their agents

intentionally and/or negligently interfered, physically or otherwise, with the

solitude, seclusion and or private concerns or affairs of Plaintiff, namely, by

unlawfully attempting to collect a debt and thereby invaded Plaintiff’s privacy.”).

Against CarMax, Crowe asserts claims for negligence, wantonness, conversion,

negligent training and supervision, reckless and wanton training and supervision,

violation of the U.C.C., breach of contract, and trespass. Against Del Mar, Crowe

asserts claims for negligence, wantonness, conversion, negligent training and


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supervision, reckless and wanton training and supervision, violation of the

FDCPA, and trespass. Because these claims are subject to the Arbitration

Provisions, Defendants move to compel arbitration in this matter.


                                    II. ARGUMENT
          Under the facts set forth above, federal and state law mandates enforcement

of the Arbitration Provision. For the following reasons, Crowe’s claims against

Defendants must be submitted to arbitration.

          A.      ARBITRATION        AGREEMENTS         ARE     PRESUMPTIVELY
                  VALID.
          The FAA provides that an arbitration agreement “shall be valid, irrevocable,

and enforceable.” 9 U.S.C. § 2. Congress enacted the FAA “to ensure judicial

enforcement of privately made agreements to arbitrate,” and “to overrule the

judiciary’s longstanding refusal to enforce agreements to arbitrate.” Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 219-20 (1985); see also Allied-Bruce

Terminix Cos. v. Dobson, 513 U.S. 265, 270 (1995) (same). Through its passage

of the FAA, Congress placed arbitration agreements “upon the same footing as

other contracts.” Shearson/Am. Express, Inc. v. McMahon, 482 U.S. 220, 225-26

(1987) (quoting Scherk v. Alberto-Culver Co., 417 U.S. 506, 511 (1974)). While

legislators were aware that the Act would encourage the expeditious resolution of

disputes, its passage “was motivated, first and foremost, by a congressional desire

to enforce agreements into which parties had entered.” Dean Witter Reynolds Inc.,

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470 U.S. at 220.

          “[G]eneralized attacks on arbitration,” Gilmer v. Interstate/Johnson Lane

Corp., 500 U.S. 20, 30 (1991), based on the “suspicion of arbitration as a method

of weakening the protections afforded in the substantive law to would-be

complainants,” have been repudiated as “far out of step with our current strong

endorsement of the federal statutes favoring this method of resolving disputes.”

Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 481 (1989).

Instead, Congress, through its passage of the FAA, and the Supreme Court,

through its interpretation of the Act, have together created a strong federal policy

favoring the enforcement of arbitration agreements. Indeed, these policies are so

strong that, “as a matter of federal law, any doubts concerning the scope of

arbitrable issues should be resolved in favor of arbitration, whether the problem at

hand is the construction of the contract language itself or an allegation of waiver,

delay, or a like defense to arbitrability.” Moses H. Cone Mem'l Hosp. v. Mercury

Constr. Corp., 460 U.S. 1, 24-25 (1983). It is against this backdrop of a strong

federal policy of encouraging arbitration that the Court must evaluate the merits of

Defendants’ motion.




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          B.      THE    PREREQUISITES UNDER THE   FAA  FOR
                  ENFORCEMENT OF ARBITRATION AGREEMENTS ARE
                  SATISFIED.
          An arbitration agreement is specifically enforceable under the FAA if the

following three requirements are met: (1) the existence of a written agreement to

arbitrate claims, (2) a nexus to interstate commerce, and (3) coverage of the claims

by the arbitration clause. 9 U.S.C. § 2. Each of these elements is clearly satisfied

in this case. Additionally, as analyzed at the end of this section, any question

concerning the scope of an arbitration agreement is for the arbitrator, not a court, to

decide.

                  1.    The parties’ Arbitration Provisions are in writing.
          Here, the subject Arbitration Provisions are in writing and signed by Crowe.

(See Bill of Sale, p. 1-3; RIC, p. 3.) Thus, the first prerequisite to enforcement of

the Arbitration Provision is undoubtedly satisfied here. See 9 U.S.C. § 2; see also

Freeman v. Sterling Jewelers, Inc., No. 1:08-cv-154, 2008 WL 3890498, at *3

(M.D. Ala. 2008) (holding that, to satisfy the FAA’s written agreement

requirement, “[a]ll that is required is that the arbitration provision be in writing”)

(citation omitted).

                  2.    The parties’ transaction involved interstate commerce.
          The parties’ transaction affects interstate commerce, thus satisfying the

second prerequisite to enforcement of their Arbitration Provision. First and

foremost, the parties have already agreed that the Federal Arbitration Act applies to

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any claim between the parties: “This Arbitration Provision is governed by the

Federal Arbitration Act and not by any state arbitration law.” (See Bill of Sale, p.

3; RIC, p. 3.) As the Supreme Court has noted, courts “must place arbitration

agreements on an equal footing with other contracts, and enforce them according to

their terms.”        AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011)

(citations omitted).       Thus, when a contract expressly provides that the FAA

controls, courts must enforce that stipulation and apply the FAA to the arbitration

agreement contained in the contract. See Volt Info. Scis., Inc. v. Bd. of Trs. of

Leland Stanford Jr. Univ., 489 U.S. 468, 478-79 (1989) (upholding choice of

California law to govern arbitration although interstate commerce was involved

because applying federal law would have forced parties to arbitrate in manner

contrary to their agreement). Because the Arbitration Provisions here expressly

provide that the FAA controls, the second prerequisite to its enforcement is

satisfied on this basis alone.

          Second, the FAA provides that “a contract evidencing a transaction

involving commerce to settle by arbitration a controversy thereafter arising out of

such contract or transaction . . . shall be valid, irrevocable, and enforceable, save

upon such grounds as exist at law or in equity for the revocation of any contract.” 9

U.S.C. § 2 (emphasis added). The phrase “involving commerce” is to be given a

“broad interpretation.” Allied Bruce Terminix Co. v. Dobson, 513 U.S. 265, 275


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(1995). The term “involving commerce” in the FAA has been interpreted as the

functional equivalent of the more familiar term “affecting commerce” and

“encompasses a wider range of transactions than those actually ‘in commerce’ --

that is, ‘within the flow of interstate commerce.’” Citizens Bank v. Alafabco, Inc.,

539 U.S. 52, 56 (2003) (citing Allied Bruce Terminix Co., 513 U.S. at 273)).

          It is clear that the parties’ underlying transaction here “involves” interstate

commerce as required by the FAA. It is beyond dispute that the delivery, transfer,

or movement of goods, services, or other articles of commerce “across state lines .

.    .    has     long   been   recognized   as   a   form   of   ‘commerce.’”   Camps

Newfound/Owatonna, Inc. v. Town of Harrison, 520 U.S. 564, 573 (1997); see also

Lewis v. BT Inv. Managers, Inc., 447 U.S. 27, 36 (1980); Gibbons v. Ogden, 22

U.S. 1, 194 (1824). Moreover, it is similarly well-settled that the sale of

automobiles affects interstate commerce. See, e.g., Dan Wachtel Ford, Lincoln,

Mercury, Inc. v. Modas, 891 So. 2d 287, 292 (Ala. 2004) (“This Court has

previously recognized that the purchase of a used automobile from an automobile

dealer was a transaction that involved interstate commerce.”); see also United

States v. Evans, 272 F.3d 1069, 1080 (8th Cir. 2001) (noting that "the

transaction—the purchase of an automobile from a commercial used car dealer—is

sufficient, by itself, to have an effect on interstate commerce"). As such, this Court

must conclude that the subject transaction affects interstate commerce.


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          The parties’ transaction here unquestionably involved and/or affected

interstate commerce based on the alleged sale of the vehicle at issue. See Wood v.

Cooper Chevrolet, Inc., 102 F. Supp. 2d 1345, 1348 (N.D. Ala. 2000) (finding that

a transaction involving automobile seller involved interstate commerce where the

“automobile came from out of state, [and] is driven on interstate highways”).

CarMax is a Virginia corporation with its headquarters in Richmond, Virginia.

(Amos Decl. ¶ 6.) The Vehicle, in contrast, was purchased by Crowe, an Alabama

citizen. (See Bill of Sale; RIC.) Thus, the origination and servicing operations,

including the activity involved with Crowe’s Vehicle, necessarily involved

interstate commerce. (Amos Decl. ¶ 6. Bill of Sale; RIC.)

          Under the FAA, "parties [to an arbitration agreement] are generally free to

structure their arbitration agreements as they see fit," and may "specify by contract

the rules under which that arbitration will be conducted." Volt Info. Scis., 489 U.S.

at 479. Parties to a contract are therefore free to specify whether their agreement

to arbitrate will be governed by the FAA or state law. See id. As such, whether by

the Parties’ agreed-upon choice that the FAA shall apply, or by the fact that their

transaction involves interstate commerce, there can be no doubt that the FAA

applies to this matter. The second prerequisite to enforcement of the parties’

Arbitration Provisions is therefore met.




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                   3.    The broad language in the Arbitration Provisions cover the
                         claims in this action.
          Finally, the parties’ Arbitration Provisions are unquestionably broad enough

in scope to encompass Crowe’s claims. When determining the scope of an

arbitration provision, the court must look to the factual allegations of the complaint

and determine whether the claims alleged therein touch and concern matters

covered by the arbitration provisions. See Genesco, Inc. v. T. Kakiuchi & Co., 815

F.2d 840, 846 (2nd Cir. 1987); In re Tirex Int'l, Inc., 395 B.R. 182, 194 (Bankr.

S.D. Fla. 2008) ("In assessing whether a dispute falls within the scope of an

arbitration clause, the court's focus 'is on the "factual allegations in the complaint

rather than the legal causes of action asserted."'" (quoting Mutual Benefit Life Ins.

Co. v. Zimmerman, 783 F. Supp. 853, 868 (D.N.J. 1992))). Additionally, "due

regard must be given to the federal policy favoring arbitration, and ambiguities as

to the scope of the arbitration clause itself resolved in favor of arbitration." Volt

Info. Sci., Inc. v. Bd. of Trustees of Leland Stanford Jr. Univ., 489 U.S. 468, 476

(1989).

          The presumption of arbitrability, created by the mere existence of an

arbitration clause, can be overcome only if “it may be said with positive assurance

that the arbitration clause is not susceptible of an interpretation that covers the

asserted dispute. Doubts should be resolved in favor of coverage.” AT&T Techs.,



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Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 650 (1986) (quoting United

Steelworkers v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582-83 (1960)).

          As previously noted, the parties’ Arbitration Provisions are broadly worded

and unquestionably broad enough in scope to encompass the claims and allegations

in this action. In pertinent part, the Arbitration Provision in the RIC provides:

          a. What Claims are Covered. A “Claim” is any claim, dispute or
          controversy between you and us that in any way arises from or relates
          to this consumer credit sale, the purchase you are financing by way of
          this Contract, the Vehicle and related goods and services that are the
          subject of the purchase and this Contract, or the collection or servicing of
          this Contract . . . .


(RIC, p. 3 (emphasis added).) Similarly, the Arbitration Provision in the Bill of

Sale provides:

          a. What Claims are Covered. A “Claim” is any claim, dispute or
          controversy between you and us that in any way arises from or
          relates to this sale and/or this Contract or the Vehicle and related
          goods and services that are the subject of the purchase and this
          Contract or the collection or servicing of this Contract . . . .”

(Bill of Sale, p. 2.) The Arbitration Provisions broadly cover, among other things,

any claim or dispute arising from or relating to Crowe’s credit application, the

RIC, the Bill of Sale or the “collection or servicing of” the RIC or Bill of Sale.

Additionally, the Arbitration Provisions expressly apply not only to the original

contracting parties, but also to any agent of CarMax such as Del Mar is alleged to




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be. See Bill of Sale, p. 2; RIC, p. 3) (encompassing “agents” within any reference

to “we,” “us,” or “our”).

          Crowe’s claims against Defendants in this matter arise out of the

repossession of the Vehicle. Specifically, Crowe alleges that CarMax and Del Mar

are liable for illegally repossessing the Vehicle and damaging her property. (See

Compl.)          Based on these allegations, Crowe has brought numerous state and

federal claims against Defendants. These claims fall squarely within the broad

scope of the Arbitration Provisions.2               Crowe certainly cannot show “with

positive assurance that the arbitration clause is not susceptible of an interpretation

that covers the asserted dispute.” AT&T Techs., Inc., 475 U.S. at 650.

Accordingly, Crowe’s claims against Defendants must be arbitrated.

                   4.    The scope of the Arbitration Provisions is for the Arbitrator
                         to decide.
          Finally, the Arbitration Provisions makes clear that the question of

arbitrability is itself subject to arbitration, as the agreement incorporates the rules

of the American Arbitration Association (“AAA”) or JAMS, which require the

arbitrator to decide the issue of arbitrability of claims. (See Bill of Sale, pp. 2-3;
          2
          Additionally, Crowe asserts a breach of contract claim against CarMax. Crowe states
that CarMax was “obligated to perform certain duties under the financing agreement related to
the Vehicle.” See Compl. ¶ 50. By alleging breach of contract, Crowe has acknowledged the
validity of the RIC and the arbitration provision contained therein. Thus, Crowe’s breach of
contract claim falls within the scope of the RIC’s arbitration provision. See RIC, p. 3 (requiring
arbitration on any claim relating to “this Contract”); see also Latifi v. Sousa, No. CV95-H-2136-
NE, 1996 WL 735260, at *3 (N.D. Ala. Dec. 23, 1996) (compelling arbitration on claims that
“arise out of the contract”).


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RIC, p. 3) These types of Arbitration Provisions authorize the arbitrator, not a

court, to decide issues of arbitrability based on the arbitration forum’s governing

arbitration rules, and have routinely been upheld by state and federal courts under

the doctrine announced in First Options of Chi., Inc. v. Kaplan, 514 U.S. 938

(1995). There, the Supreme Court explained that “[j]ust as the arbitrability of the

merits of a dispute depends upon whether the parties agreed to arbitrate that

dispute, so the question ‘who has the primary power to decide arbitrability’ turns

upon what the parties agreed about that matter.” Id. at 943 (citations omitted); see

also Scott v. Prudential Secs., Inc., 141 F.3d 1007, 1011 (11th Cir. 1998) (“[T]he

parties may choose to have arbitrators resolve even the question of arbitrability.”),

overruled on other grounds by Hall Street Assoc., L.L.C. v. Mattel, Inc., 552 U.S.

576, 585 (2008). This principle flows inexorably “from the fact that arbitration is

simply a matter of contract between the parties.” First Options, 514 U.S. at 943.

Thus, the Court in First Options held that where parties clearly agree to arbitrate

issues of arbitrability, such issues should be reserved for the arbitrator. See id.

          When parties explicitly incorporate rules that empower an arbitrator to

decide issues of arbitrability, such as the arbitral forum’s rules, the incorporation

serves as clear and unmistakable evidence of the parties’ intent to delegate such

issues to an arbitrator. See Terminix Int’l Co. v. Palmer Ranch Ltd., 432 F.3d 1327

(11th Cir. 2005). In Terminix, the Eleventh Circuit Court of Appeals overturned a


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district court's decision to deny a motion to compel arbitration based on the

inclusion of remedial restrictions (i.e., punitive damages, treble damages, etc.)

without the existence of a severability clause within the arbitration agreement. Id.

at 1330-1331. The Eleventh Circuit found that the parties agreed that the arbitrator,

not the court, would determine the question of arbitrability by providing that

"arbitration shall be conducted in accordance with the Commercial Arbitration

Rules then in force of the American Arbitration Association." Id. at 1332. The

court held that the AAA rules, in turn, provide that "the arbitrator shall have the

power to rule on his or her own jurisdiction, including any objections with respect

to the existence, scope or validity of the arbitration agreement." Id. The court

concluded that by incorporating the AAA Rules into their agreement, the parties

clearly and unmistakably agreed that the arbitrator should decide whether the

arbitration clause is valid. See id.

          Here, the Arbitration Provisions clearly state that any claim shall be resolved

by binding arbitration in accordance with the AAA’s rules or JAMS’ rules. (See

Bill of Sale, pp. 2-3; RIC, p. 3) According to AAA Rule R-14(a), “The arbitrator

shall have the power to rule on his or her own jurisdiction, including any

objections with respect to the existence, scope, or validity of the arbitration

agreement or to the arbitrability of any claim or counterclaim.” See AAA Consumer




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Arbitration Rules, www.adr.org, Rule R-14(a).3 And according to JAMS Rule

11(b), “Jurisdictional and arbitrability disputes, including disputes over the

formation, existence, validity, interpretation or scope of the agreement under which

Arbitration is sought, and who are proper Parties to the Arbitration, shall be

submitted to and ruled on by the Arbitrator. The Arbitrator has the authority to

determine jurisdiction and arbitrability issues as a preliminary matter.” See JAMS

Comprehensive Arbitration Rules & Procedures, www.jamsadr.com, Rule 11(b).4

By stating that any arbitration must be conducted pursuant to AAA or JAMS rules,

the Arbitration Provisions leave no doubt that the arbitrator alone has the power to

rule on the arbitrability of Crowe’s claims. See Terminix Int’l, 432 F.3d at 1332.

Crowe cannot evade the consequences flowing from the incorporation of these

rules into the Arbitration Provisions.

          In sum, all of the prerequisites under the FAA for enforcement of arbitration

agreements are satisfied in this case. For these reasons, CarMax’s and Del Mar’s

Motion to Compel Arbitration should be granted, and any issues relating to the

arbitrability of Crowe’s claims should be reserved for the arbitrator.

          C.       Del Mar is entitled to compel Crowe’s claims against it to
                   arbitration according to the Arbitration Provisions.




3
    A true and correct copy of AAA Rule R-14 is attached hereto as Exhibit C.
4
    A true and correct copy of JAMS Rule 11 is attached hereto as Exhibit D.

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          Del Mar is entitled to compel arbitration of Crowe’s claims against it based

on the plain language of the Arbitration Provisions. In this case, Del Mar received

an assignment from CarMax to repossess Crowe’s vehicle, which Del Mar

subsequently assigned to Allstar Recovery for repossession. (Del Mar Decl. ¶¶ 5-

6.) Against Del Mar, Crowe now brings claims for negligence, wantonness,

conversion, negligent training and supervision, reckless and wanton training and

supervision, violation of the FDCPA, and trespass. See Compl. Crowe also alleges

that Del Mar was acting CarMax’s agent. See Compl. ¶ 55.

          A nonparty to an arbitration agreement may compel arbitration “if the

relevant state contract law allows him to enforce the agreement” to arbitrate.

Lawson v. Life of the S. Inc. Co., 648 F.3d 1166, 1170 (11th Cir. 2011) (citation

omitted). As a result, the “issue of whether a non-signatory to an agreement can

use an arbitration clause in that agreement to force a signatory to arbitrate a dispute

between them is controlled by state law.” Kroma Makeup EU, LLC v. Boldface

Licensing + Branding, Inc., 845 F.3d 1351, 1354 (11th Cir. 2017).

          As initial matter, the Arbitration Provisions clearly state that “references to

‘we,’ ‘us,’ and ‘our’ mean the Seller, including its respective subsidiaries,

affiliates, agents, employees, and officers.” (See Bill of Sale, p. 2; RIC, p. 3

(emphasis added).) Additionally, both Arbitration Provisions permit either “you or

we” to choose arbitration, which means that alleged agents are permitted to choose


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arbitration. Based on the plain language of the Arbitration Provisions, Del Mar, as

CarMax’s alleged agent, may compel Crowe to arbitration on this basis alone. See

Cartwright v. Maitland, 30 So. 3d 405, 410 (Ala. 2009) (rejecting argument that

nonsignatory could not compel arbitration because that “argument again neglects

the plain language of the arbitration provision”).

          Additionally, Alabama law permits a nonsignatory to compel arbitration

when the claims against the nonsignatory are “intimately founded in and

intertwined with the underlying contract obligations.” Smith v. Mark Dodge, Inc.,

934 So. 2d 375, 380 (Ala. 2006); see also Auvil v. Johnson, 806 So. 2d 343, 350

(“The doctrine of intertwining extends the benefits of an arbitration agreement to a

nonsignatory only if the claims against him are intertwined with the claims against

a signatory who is going to arbitration.”).5 The claims against Del Mar are similar

to the claims compelled to arbitration by a nonsignatory party in Service Corp.

Int’l v. Fulmer, in which the Court held as follows:



          5
          The Supreme Court of Alabama has crafted one exception to this “intertwining” rule,
which is that “unless the arbitration provision contains sufficiently broad language that indicates
that the nonsignatory was contemplated as a party, we have repeatedly held that the nonsignatory
lacks ‘standing’ to enforce the arbitration agreement.” Smith, 934 So. 2d at 380. However, the
Arbitration Provisions here explicitly include an agent such as Del Mar within its bounds. Both
Arbitration Provisions state that “references to ‘we,’ ‘us’ and ‘our’ mean the Seller, including its
respective subsidiaries, affiliates, [and] agents.” Additionally, both Arbitration Provisions permit
either “you or we” to choose arbitration, showing that agents were specifically contemplated as
parties that could enforce arbitration. Thus, these Arbitration Provisions are “not so restrictive as
to preclude arbitration by” Del Mar. See ECS, Inc. v. Goff Group, Inc., 880 So. 2d 1140, 1147
(Ala. 2003) (quoting Ex parte Stamey, 776 So. 2d 85, 89 (Ala. 2000)).


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          All of Fulmer's claims arise from the same set of facts. Virtually none
          of Fulmer's claims makes a distinction between the alleged bad acts of
          SCI (the parent corporation) and those of SCI–Alabama (its
          subsidiary); rather, the claims are asserted as if SCI and SCI–Alabama
          acted in concert. Because Fulmer's claims are sufficiently
          “intertwined,” the only remaining question is whether the arbitration
          provision is “so restrictive as to preclude arbitration by” SCI.

883 So. 2d 621, 634 (Ala. 2003).

          Here, all of the claims against Del Mar and CarMax arise from the same set

of facts: the repossession of the Vehicle. Further, Crowe’s claims do not make a

distinction between claims against Del Mar and CarMax. Indeed, the majority of

Crowe’s claims are against all of the defendants. See Compl. Instead, “the claims

are asserted as if [Del Mar] and [CarMax] acted in concert.” Fulmer, 883 So. 2d at

634; see also Locklear Auto. Group, Inc. v. Hubbard, 2017 WL 4324852, at *16

(Ala. Sept. 29, 2017) (compelling claims against nonsignatory to arbitration

because “plaintiffs' complaints make virtually no distinction between the bad acts

of Locklear Group and those of Locklear CJD.”). Accordingly, because the claims

against Del Mar are intertwined with the claims against CarMax, Del Mar is

entitled to compel Crowe’s claims against it to arbitration. See Locklear, 2017 WL

4324852, at *16 (finding that the claims were intertwined because “[e]very claim

the plaintiffs asserted against Locklear CJD they also asserted against Locklear

Group, and those claims were asserted as if Locklear CJD and Locklear Group had




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acted in concert, as if the latter was responsible for the acts of the former, and/or as

if those persons who acted for one also acted for the other”).

          Whether because the Arbitration Provisions explicitly permit an alleged

agent such as Del Mar to compel arbitration, or because claims against Del Mar are

intertwined with the claims asserted against CarMax, Del Mar is entitled to compel

Crowe’s claims against it to arbitration.


          E.       Crowe’s claims against CarMax and Del Mar must be dismissed.
          Finally, this Court should not only compel the arbitration of Crowe’s claims

against Defendants, but it should also dismiss these claims. Section 3 of the FAA

addresses the procedure for handling cases where issues are referable to arbitration:

          If any suit or proceeding be brought in any of the courts of the United
          States upon any issue referable to arbitration under an agreement in
          writing for such arbitration, the court in which such suit is pending,
          upon being satisfied that the issue involved in such suit or proceeding
          is referable to arbitration under such an agreement, shall on
          application of one of the parties stay the trial of the action until such
          arbitration has been had in accordance with the terms of the
          agreement, providing the applicant for the stay is not in default in
          proceeding with such arbitration.

9 U.S.C. § 3 (emphasis added).

          “Although 9 U.S.C. § 3 speaks in terms of requiring a stay in the

circumstances noted, there is authority from district courts in [the Eleventh Circuit]

and other circuit courts of appeals which clearly supports a dismissal of an action

when, due to an order compelling arbitration, there are no substantive claims left

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pending before the district court.” Halford v. Deer Valley Home Builders, Inc.,

No. 2:07-cv-180-ID-WO, 2007 WL 1229339, at *3 (M.D. Ala. Apr. 25, 2007)

(citing 9 U.S.C. § 3; Clayton v. Woodmen of World Life Ins. Soc., 981 F. Supp.

1447 (M.D. Ala. 1997)); Gilchrist v. Citifinancial Servs., Inc., 2007 WL 177821

(M.D. Fla. 2007) (“The weight of authority clearly supports dismissal of the case

when all of the issues raised in the district court must be submitted to arbitration.”)

Indeed, “dismissal of the action is appropriate, since retaining jurisdiction and

staying the action does not serve judicial economy” where all claims are subject to

arbitration. Clayton 981 F. Supp. at 1447 (citing Alford v. Dean Witter Reynolds,

Inc., 975 F.2d 1161, 1164 (5th Cir. 1992); Boyd v. Homes of Legend, Inc., 981 F.

Supp. 1423 (M.D. Ala. 1997)).

          Plaintiff's complaint alleges various violations of state and federal law, all

arising from the repossession of Crowe’s vehicle and all falling within the broad

definitions of the “claims” covered by the Arbitration Agreements, leaving no

claims to be decided by this Court. For these reasons, if this Court enters an order

compelling arbitration, which it should, this Court should dismiss this case in its

entirety.

                                   III. CONCLUSION
          As shown above, Crowe should be compelled to arbitrate her claims against

CarMax and Del Mar, and these claims should be dismissed. There are valid,


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written Arbitration Provisions, the transaction involved interstate commerce, and

the Arbitration Provisions are unquestionably broad enough in scope to encompass

the claims in this action against Defendants. Accordingly, Defendants respectfully

request that this Court compel Crowe’s claim against CarMax and Del Mar to

arbitration and dismiss all claims against CarMax and Del Mar.

          Respectfully submitted this 12th day of July, 2018.



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                              CERTIFICATE OF SERVICE
          I hereby certify that I have served a copy of the foregoing document by

CM/ECF Notice of Electronic Filing on this the 12th day of July, 2018 to:

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